|   ..   I            CASE 0:12-cr-00295-PAM-AJB Doc. 25 Filed 01/09/13 Page 1 of 2


             PS8
             (Rev 5/10)                                                                                  .,,..BEcEryEI
                                   LINITED STATES DISTRICT COTJRT
                                                                 For
                                                                                                                 ,   il,, r,lg Z|lB
                                                       District of Minnesota

             U.S.A. vs. Julie Ann Campana                                      Docket   No   o864   o,   r.lffitlf''ffi^f;lgt;*'
                                       Petition for Action on Conditions of Pretrial Release

             COMES NOW Krystal A. Taylor, U.S. Probation Officer, presenting an oflicial report upon the
             conduct of the defendant" Julie Ann Campana, who was placed under pretrial supervision by the
             Honorable Jeanne J. Graham, sitting in the Court at St. Paul, on the 4th day of December. 2012,
             under the following special conditions;

                  o       Pretrial Services Supervision
                  o       Obtain and Maintain Employment
                  o       Education/TrainingRequirements
                  o       Surrender Passport
                  o       Obtain No New Passport
                  o       Travel Restrictions
                  o       No Contact with Codefendant or America's Best Value Inn
                  o       Weapons Restriction
                  e       Substance Abuse Testing
                  o       No Tampering with Substance Abuse Testing
                  o       Report Contact with Law Enforcement
                  .       Drug Treatment
                  o       Alcohol Abstinence
                  o       Residential Requirements / Restrictions
                  .       Comply with Requirements of Dakota and Scott Counties

             RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
             FOLLOWS:

             On December 28,2012, the defendant submitted a urine sample that tested positive for THC and
             methamphetamine. The above actions violate the defendant's conditions of release pursuant to
             l8 u.s.c.       $ 3148.

             PRAYING THAT THE COURT WILL ORDER:

             That the conditions of release be modified to include the following: The defendant shall submit
             to location monitoring/curfew as directed by U.S. Probation and Pretrial Services, and comply
             with all of the program requirements. The def-endant is restricted to her residence every day as
             directed by the supervising probation ofTicer.
       CASE 0:12-cr-00295-PAM-AJB Doc. 25 Filed 01/09/13 Page 2 of 2

PS8 Petition for Action on Conditions of Pretrial Release                                  Julie Ann Campana



         ORDER OF COURT


considered and ordered thir| b           duy                I    declare under penalty            of perjury
of January, NlL, and ordered fifed and made                 that the forgoing is true and correct.
a part ofthe records in the above case.
                                                                l\l1alLfn lu1*         John P. Rayman
                                                            d              J           JanT 2o13 3:48 PM


                                                            Krystal A. Taylor
                                                            U.S. Probation Offrcer
                                                            651-848-1248
             Jeanne J. Graham
U.S. Magistrate Judge                                       Executed on January 7,2013
                                                            Place St. Paul

                                                            Approved:

                                                                1,'ltj,iltt^),i.rr-*   John P. Rayman
                                                            Ll             J           JanT 2013 3:48 PM

                                                            John P. Rayman
                                                            Supervising U.S. Probation Offrcer
